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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           Case No. 06-20663

D-10, DEXTER HUSSEY,                                         HONORABLE AVERN COHN

     Defendant .
___________________________________/


                    ORDER DENYING MOTION FOR RECONSIDERATION

       This is a criminal case. Because defendant is representing himself, and as a

consequence, the case has presented to the Court severe management problems. The

Court entered an order on October 30, 2009, requiring the government, among other

things, to include in its exhibit book photographs of the several non-documentary exhibits

it intends to offer into evidence at trial, and to correlate the witness list with the exhibit list.

The government has filed a motion for reconsideration of the order relating to the above.

The motion is DENIED.

       The government expresses concern that the Court’s order will limit its ability to

present evidence and testimony at trial.1 The government states that “[a]lthough the order

does not describe its instructions as requiring a bill of particulars, an attempt by the

government to documents and witnesses that were not listed pursuant to that order would


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        “Our objection to the requirement for an amended, annotated exhibit list arises
out of our concern that compliance with the Court’s order will unduly limit the
government’s options to deal with the unavailability of particular witnesses and will limit
the government’s proofs to the particulars furnished.” United States’ Motion for
Reconsideration at ¶3.
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surely be met with protests and efforts to strike by the defense.” United States’ Brief in

Support of Motion for Reconsideration at 15. The Court did not order a Bill of Particulars.

Due to the bare bones nature of the indictment, the Court is concerned that the defendant

cannot discern the factual basis upon which he was indicted. The order is intended to

ensure that the defendant will be fully prepared when trial begins to understand the

government’s proofs and that the trial will not be delayed for the defendant’s need to

understand these proofs.

       Obviously, if a witness correlating to an exhibit is not available at trial, or the

government decides to utilize a different witness than the correlated witness to authenticate

an exhibit, the government may do so. The correlation is not intended to restrict the

government’s ability to present its case as it deems appropriate. Rather, the correlation is

a precautionary requirement which is intended to enable the proofs to move forward with

a minimum of down time. As to the photographs, this is a “best efforts” requirement, again

to enable the proofs to move forward with a minimum of down time. The government

under-appreciates the difficulties which can be encountered in a case in which the

defendant is representing himself, particularly in the circumstances of this case.

       SO ORDERED.


Dated: November 9, 2009                    s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE



I hereby certify that a copy of this notice was served upon Dexter Hussey, 4107 19th
Street, Ecorse, MI 48229, William Ford, Standby Counsel and Dawn Ison, AUSA on this
date October 30, 2009 by ordinary mail and/or electronic mail.

                                           s/Julie Owens
                                          Case Manager, (313) 234-5160



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